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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION
 CONGHUAYAN                                          §
                                                     §
 VS.                                                 § CIVIL ACTION NO. 4:23-CV-758-P
                                                     §
 THE STATE BAR OF TEXAS, ET AL.                      §

            FINDINGS, CONCLUSIONS, AND RECOMMENDATION
    REGARDING PLAINTIFF'S SECOND MOTION FOR SANCTIONS TO COUNSEL
                  ROYCE LEMOINE AND AMANDA KATES

        Pending before the Comt is prose Plaintiff Conghua Yan's Second "Motion for Sanctions to

Counsel" Royce Lemoine ("Lemoine") and Amanda Kates ("Kates") [doc. 63], filed September 19,

2023.   Having carefully considered the motion, and response, the Coutt finds, concludes, and

RECOMMENDS that the motion should be DENIED for the reasons stated in Defendants' response.

        The Court notes that this is one of four motions for sanctions that Plaintiff has filed [docs. 22,

33, 63, 74] and the second motion for sanctions Plaintiff has filed against attorneys Lemoine and Kates.

While much of Plaintiffs Motion for Sanctions is a pontification about the evils of the '"elite' legal

community;" the crux of Plaintiffs argument is that Lemoine and Kates have made statements that he

feels are attributable to his "abstract mental activities" and that there is no evidence to support them.

(Plaintiffs Motion ("Pl. 's Mot.") at 7-8). Plaintiff previously raised this argument in his first motion

for sanctions against Lemoine and Kates.        (ECF 22).    In an order dated August 31, 2023, the

undersigned recommended, inter alia, denying Plaintiffs first motion for sanctions against Lemoine

and Kates. (ECF 40). United States District Court Judge Mark Pittman adopted the undersigned's

recommendation in an order dated September 18, 2023. (ECF 59). As mentioned in its previous order

[doc. 79], the repeated, unwarranted filing of motions for sanctions against an attorney is a serious

matter, which the Court will not continue to tolerate. If Plaintiff files any future frivolous motions for

sanctions, the undersigned will recommend appropriate sanctions against Plaintiff.
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                        NOTICE OF RIGHT TO OBJECT TO PROPOSED
                     FINDINGS, CONCLUSIONS AND RECOMMENDATION
                        AND CONSEQUENCES OF FAILURE TO OBJECT

        Under 28 U.S.C. § 636(b)(l), each party to this action has the right to serve and file specific

written objections in the United States District Court to the United States Magistrate Judge's proposed

findings, conclusions and recommendation within fourteen (14) days after the party has been served

with a copy of this document.       The United States District Judge need only make a de nova

determination of those portions of the United States Magistrate Judge's proposed findings, conclusions

and recommendation to which specific objection is timely made. See 28 U.S.C. § 636(b)(I). Failure

to file, by the date stated above, a specific written objection to a proposed factual finding or legal

conclusion will bar a party, except upon grounds of plain error or manifest injustice, from attacking on

appeal any such proposed factual findings and legal conclusions accepted by the United States District

Judge. See Douglass v. United Servs. Auto Ass'n, 79 F.3d l4l5, 1428-29 (5th Cir. l996) (en bane),

superseded by statute on other grounds, 28 U.S.C. § 636(6)(1) (extending time to file objections from

ten to fourteen days).

                                                 ORDER

        Under 28 U.S.C. § 636, it is hereby ORDERED that each party is granted until December 20,

2023 to serve and file written objections to the United States Magistrate Judge's proposed findings,

conclusions and recommendation. It is further ORDERED that if objections are filed and the opposing

party chooses to file a response, the response shall be filed within seven (7) days of the filing date of

the objections.

        SIGNED December 6, 2023.



                                                                                  JSTRATEJUDGE




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